            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:97cr22-9


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
IVEY WALKER.              )
                          )


         THIS MATTER is before the Court on the Defendant Ivey Walker’s

letter, which the Court shall construe as a motion, requesting the disclosure

of grand jury minutes. [Doc. 547]. For the following reasons, the motion is

denied.

     Grand jury materials may not be disclosed absent a “strong showing

of particularized need.” United States v. Sells Eng’g, Inc., 463 U.S. 418,

443, 103 S.Ct. 3133, 77 L.Ed.2d 743 (1983); United States v. Silva, 745

F.2d 840, 845-46 (4th Cir. 1981). A defendant is not entitled to such

materials “merely to comb the record in the hope of discovering some flaw.”

Jones v. Superintendent, Va. State Farm, 460 F.2d 150, 152 (4th Cir.

1972).




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     The Defendant has not presented any valid reasons for the

disclosure of the requested grand jury materials. The Fourth Circuit ruled

on the Defendant’s direct appeal [Doc. 514], and an amended Judgment

was entered on June 1, 2009. [Doc. 532]. On August 12, 2009, the Court

further granted the Defendant a sentence reduction pursuant to 18 U.S.C.

§ 3582(c)(2). [Doc. 541]. Most recently, on April 20, 2010, the Court

dismissed his motion to vacate pursuant to 28 U.S.C. § 2255 as untimely.

[Doc. 548]. Therefore, there are no current proceedings before the Court

that require these documents.

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

motion for the production of grand jury minutes [Doc. 547] is hereby

DENIED.

     IT IS SO ORDERED.



                                       Signed: April 29, 2010




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